                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION


                                                      )
TRACEY K. KUEHL, et al.,
                                                      )
                                                          Case No. C14-02034-LRR
                     Plaintiffs,                      )
       v.                                             )
                                                      )   ORDER ON PLAINTIFFS’
PAMELA SELLNER, et al.,                               )   MOTION FOR SUMMARY
                                                      )   JUDGEMENT
                      Defendants.                     )
                                                      )
                                                      )

                 Order Granting Plaintiffs’ Motion for Summary Judgment

       Plaintiffs have moved this Court for an order granting them summary judgment against

Defendants for unlawful “taking” endangered tigers, lions, lemurs and gray wolves at their zoo in

Manchester, Iowa. In support of their motion, Plaintiffs submitted a Statement of Undisputed

Material Facts, properly supported by declarations and responses by the parties to discovery

requests from the opposing party. In its response, Defendants have not suggested any other

adjudicative facts that support their position that they have not violated the Endangered Species

Act 15 U.S.C. §§ 1538(9)(B) and 1538(a)(1)(E).

       Having found no genuine dispute over the materials facts that support Plaintiffs’ motion,

this Court enters judgment AGAINST Defendants and finds:

   1. That Pamela Sellner, Tom Sellner, and the Cricket Hollow Zoo, Inc. have violated and

       continue to violate the Endangered Species Act, 16 U.S.C. § 1538(9)(B), by unlawfully

       taking the following federally listed threatened or endangered species under 50 CFR §

       17.11(h): tigers, Asiatic and African lions, gray wolves or intra-species hybrid wolves,

       and ring tailed and red ruffed lemurs at the Cricket Hollow Zoo; and



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2. That Pamela Sellner, Tom Sellner, and the Cricket Hollow Zoo, Inc. have violated and

   continue to violate the Endangered Species Act, 16 U.S.C. § 1538(a)(1)(E), by acquiring

   or disposing of federally listed endangered species, including tigers, Asiatic and African

   lions, gray wolves or intra-species hybrid wolves, and ring tailed and red ruffed lemurs at

   the Cricket Hollow Zoo, in interstate or foreign commerce and in the course of a

   commercial activity at the Cricket Hollow Zoo.


   THEREFORE it is this ____ day of __________, 2015,

   ORDERED that Plaintiffs’ Motion for Summary Judgment is granted;



                                               ___________________________
                                                        Jon S. Scoles
                                                 United States District Judge




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